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                          of Michael Lichtenstein Pg 1 of 38



 DAVIDOFF HUTCHER & CITRON LLP
 Attorneys for The Williamsburg Hotel BK LLC
 120 Bloomingdale Road
 White Plains, New York 10601
 (914) 381-7400
 JAMES B. GLUCKSMAN, ESQ.
 jbg@dhclegal.com

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------X
 In re:

 96 WYTHE ACQUISITION LLC,                                            Chapter11
                                                                      Case No. 21-22108 (RDD)
                                     Debtor.
 -----------------------------------------------------------------X



                   DECLARATION OF MICHAEL LICHTENSTEIN IN
                   SUPPORT OF MOTION TO QUASH DEPOSITION
                         AND DOCUMENT SUBPOENAS

         MICHAEL LICHTENSTEIN, Manager, The Williamsburg Hotel BK LLC

 (“Williamsburg”), as and for his declaration pursuant to 28 U.S.C. §1746 respectfully

 sets forth and alleges as follows:

         1.       This Declaration is submitted in support of the Motion of The

 Williamsburg Hotel BK LLC (“Williamsburg”) for the entry of an Order: 1) pursuant to

 Fed.R.Civ.P. Rule 45(d)(3) as incorporated by Fed.R.Bankr.P. 9016, quashing the

 Document Production Subpoena, a copy of which is annexed hereto as Exhibit “1”; and

 2) pursuant to Fed.R.Civ.P. Rule 45(d)(2) as incorporated by Fed.R.Bankr.P. 9016,

 quashing the Deposition Subpoena, a copy of which is annexed hereto as Exhibit “2”

 (Exhibits “1” and “2” collectively, where appropriate, the “Subpoenas”); and 3) such

 other and further relief as may be just under the circumstances.


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                   THE SUBPOENAS SEEK INFORMATION THAT
                     HAS ALREADY BEEN PRODUCED OR IS
                               IRRELEVANT

          2.    On February 23, 2021, the Debtor filed a Chapter 11 petition under Title

 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

          3.    The Debtor owns the Williamsburg Hotel (the “Hotel”) property located at

 96 Wythe Avenue, Brooklyn, New York, (the “Property”). The Property is a thirteen

 story, 160 room hotel with a rooftop pool, a bar and restaurant and a separate, elevated

 and enclosed bar that sits above the pool referred to as the Water Tower Bar. The Hotel is

 managed by Williamsburg Hotel BK LLC (the "Management Company"), a non-debtor

 affiliate, under the management agreement annexed hereto as Exhibit A ("Management

 Agreement"). The Management Company has approximately 80 employees servicing the

 Hotel.

          4.    On December 13, 2017, the Debtor borrowed $68 million (the “Loan”)

 from Benefit Street Operating Partnership, L.P. (“Benefit Street”) under a loan agreement

 (“Loan Agreement”) to construct the Hotel. The Loan was subsequently assigned to

 BSPRT 2018-FL3 Issuer, Ltd. (the “Lender” or the “Mortgagee”).

          5.    Prior to the filing of the Chapter 11 petition, the Debtor and Benefit Street

 were engaged in literally years of litigation concerning the foreclosure of the Debtor’s

 assets. That litigation concerned, inter alia, the manufacturing of defaults by Benefit

 Street, first, in order to enable Benefit Street not to lower the interest rate by 0.5% as

 required by the Loan Agreement, and then to enable Benefit Street to foreclose, rather

 than be paid under the terms of the Loan Agreement.

          6.    During that litigation, upon information and belief, virtually all of the


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 documents sought have been produced, some on multiple occasions.

        7.      Benefit Street has embarked on a course of harassment, seeking,

 repetitively, the same documents that it has already provided, presumably for the

 litigation purposes of uncovering inconstancies in the production. The following

 documents have been provided to Benefit Street:

                From March 2020 through February 2021:
                      General ledgers by month
                      Bank account statements for the Debtor and the management
                       company
                      Available monthly STR reports
                      Monthly profit & loss statements
                      Quarterly financials provided to the receiver
                      Weekly expense approval emails
                      Weekly payroll reports
                      Weekly financial reports
                      Credit card statements
                      Receiver final accounting
                      Emails to and from the receiver


                From March 2021 (after the bankruptcy filing):
                      Bank account statements for the Debtor and the management
                       company
                      General ledgers by month
                      Monthly profit & loss statements
                      Balance sheets for each month’s end
                      Monthly STR reports
                      Accounts payable reports
                      Accounts receivable reports
                      Prepaid revenue reports
                      Forward bookings reports
                      Cash budgets and actual to budget variance reports
                      Payroll reports with position-by-position detail
                      Salaried Employees Position Changes
                      Credit card statements upon request
        8.      The ostensible purpose of this discovery is to demonstrate that

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 Williamsburg is making improper use of the $1,438,000 Paycheck Protection Program

 (“PPP”) loan that was funded in April 2020 and a $150,000 Economic Injury Disaster

 Loan (“EIDL”) that was funded in July 2020. This contention is not only baseless; it

 evidences a complete lack of understanding of the Paycheck Protection Program. The

 Subpoenas and Discovery on its face, has no relationship to the proper use of a

 Fed.R.Bankr.P. Rule 2004 examination. FRPB 2004(b) states as follows:

                (b) Scope of Examination. The examination of an entity
                under this rule or of the debtor under §343 of the Code may
                relate only to the acts, conduct, or property or to the
                liabilities and financial condition of the debtor, or to any
                matter which may affect the administration of the debtor's
                estate, or to the debtor's right to a discharge. In a family
                farmer's debt adjustment case under chapter 12, an
                individual's debt adjustment case under chapter 13, or a
                reorganization case under chapter 11 of the Code, other
                than for the reorganization of a railroad, the examination
                may also relate to the operation of any business and the
                desirability of its continuance, the source of any money or
                property acquired or to be acquired by the debtor for
                purposes of consummating a plan and the consideration
                given or offered therefor, and any other matter relevant to
                the case or to the formulation of a plan.

        9.      The purpose of Fed.R.Bankr.P. Rule 2004 is not to allow a free-ranging

 assault upon entities related to the Debtor.

                  WILLIAMSBURG IS MAKING PROPER USE OF
                             PPP PROCEEDS

        10.     The premise upon which Benefit Street is asking for discovery from the

 management company is mistaken. 

        11.     The purpose of the PPP program is to help companies survive during the

 COVID pandemic and the resulting cash crunch. For that purpose the government

 provided funding to companies to help them. Under the PPP program, the primary


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 relevant questions under the statute are whether the loan request was necessary and if the

 loans are subject to forgiveness. Here, the Management Company sought government

 assistance, which was clearly necessary and the loans subject to forgiveness, given the

 financial issues facing the hotel industry in general, and the Hotel in particular, including,

 the uncertainty in paying its payroll and other expenses. The PPP loan did not bar

 companies from getting paid for services or from being reimbursed by other entities

 (whether through insurance coverage, third party payments, or as here, payments from

 the Hotel) including, in this case, the Debtor.

        12.     The PPP funds were provided in addition to any reimbursement or

 payments that the companies received in any form.

        13.     The fact that The Williamsburg Hotel was reimbursed from the Debtor has

 no relevance to the receipt or the forgiveness of the PPP loan. There was no ban under

 the statute on any company, including The Williamsburg Hotel, to both get the PPP

 funds, and to simultaneously charge customers or clients at the same time for services

 rendered. In fact, the purpose of the PPP loan was forward looking, to enable companies

 to survive, and to enable companies to provide services and to charge for their services at

 the same time and simultaneously with using the PPP funds, until the economic situation

 improved.

        14.     It is well-known to the Court that the COVID-19 pandemic constricted

 business activities and revenues severely. See, e.g. Lindsay v. Carnival Corp., No. C20-

 982 TSZ, 2021 WL 488994, at *2 (W.D. Wash. Feb. 10, 2021)(“ The court may take

 judicial notice of facts not subject to reasonable dispute because they “can be accurately

 and readily determined from sources whose accuracy cannot reasonably be questioned.”).


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        15.     The forgiveness of the PPP loan provided to any company, including The

 Williamsburg Hotel, does not require that no other income flowed to The Williamsburg

 Hotel, nor does the program look to the ultimate performance of the applicant in

 determining eligibility and forgiveness of any loans. The forgiveness of the PPP loan was

 merely a product of showing that at least the appropriate amount of the PPP loan was

 used for payroll - whether there was additional income and revenues flowing into The

 Williamsburg Hotel in whatever amounts, and even if The Williamsburg Hotel was

 profitable. Any issues as to the necessity for and the forgiveness of any PPP loan,

 including as here, is strictly an issue as between the government and the applicant, here

 the Management Company. The Debtor or Benefit Street has no right to challenge such,

 nor is any party other than the Management Company qualified for any such loans.

        16.     If, for example, theoretically there would have been $5 million of profit

 flowing into the Williamsburg Hotel on top of the $1.4 million PPP loan, the PPP loan

 would still have been forgiven. The presence or lack of presence of income was of no

 concern to the Small Business Administration under the statute.

        17.     As such, any information sought has no relevance to the “acts, conduct, or

 property or to the liabilities and financial condition of the debtor.”

        18.     The Williamsburg Hotel applied for a PPP loan, and used the moneys in a

 manner permitted by applicable law. These PPP funds are the property of Williamsburg

 exclusively, and no other party is entitled to these funds, and none of the Debtor or

 Benefit Street parties are entitled to discovery about these PPP funds. The fact that

 Benefit Street seeks to make certain inferences, for litigation purposes, is not relevant to

 this proceeding.


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        19.     What the management company did with the funds is completely

 irrelevant to the Debtor. The sole remedy of any issue, which is contested, regarding the

 use of such funds, would be an issue impacting the forgiveness of such loan, and is solely

 between the SBA and Management Company. As such, the Court should not permit a

 wide-ranging foray into the affairs of a management company.

        20.      Indeed, according to the logic that the lender is putting forth, any

 company qualifying for PPP funds and forgiveness of such, would not have been allowed

 to operate its business for a profit. That is simply not part of the statute, and has nothing

 to do with the Debtor herein.

        21.     There were no limitations on what the management company could do

 with the funds. As long as the appropriate amount was paid for payroll by the company,

 the PPP was forgiven, and what the PPP money was actually used for did not matter and

 does not matter.

        22.     According to the logic that the lender is putting forth, any company that

 received PPP funds would not have been allowed to operate its business for a profit.

        23.     In summary - the entire premise of the 2004 discovery motion is mistaken,

 and as such no information should be provided, other than that relating to Williamsburg’s

 transactions with the Debtor.




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                                      CONCLUSION

        24.     Williamsburg seeks an order quashing the subpoena and the related

 subpoena issued to Live Oak Bank, or its limitation to transactions with the Debtor.

        WHEREFORE, Williamsburg seeks the quashing of the Subpoenas, together

 with such other and further relief as is just under the circumstances.

 Dated: White Plains, New York
        August 22, 2021

                                               /s/ Michael Lichtenstein
                                               _______________________
                                               MICHAEL LICHTENSTEIN




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                            EXHIBIT “1”
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KRAMER LEVIN NAFTALIS & FRANKEL LLP
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Attorneys for Benefit Street Partners
Realty Operating Partnership, L.P.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X

                NOTICE OF SUBPOENA FOR RULE 2004 EXAMINATION

        PLEASE TAKE NOTICE that, pursuant to Rules 2004 and 9016 of the Federal Rules of

Bankruptcy Procedure and in connection with the attached Order Pursuant to Bankruptcy Rule

2004 and 9016 Authorizing Discovery of the Hotel Manager and Live Oak Bank [ECF No. 80],

Benefit Street Partners Realty Operating Partnership, L.P. (“Benefit Street”), by and through its

undersigned counsel, will serve the attached subpoena to produce documents on The

Williamsburg Hotel BK LLC. Such documents shall be produced to Benefit Street’s counsel,

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

10036, Attn: P. Bradley O’Neill, by no later than August 16, 2021.
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                           of Michael Lichtenstein Pg 11 of 38



Dated:    New York, New York
          August 2, 2021
                                               KRAMER LEVIN NAFTALIS &FRANKEL LLP

                                               /s/ P. Bradley O’Neill
                                               Adam C. Rogoff
                                               P. Bradley O’Neill
                                               Reyhan Watson
                                               Kramer Levin Naftalis & Frankel LLP
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                                               Attorneys for Benefit Street Partners Realty
                                               Operating Partnership, L.P.


To:      Mark Frankel, Esq.
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         Attorneys for the Debtor

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         Attorneys for Constantino Sagonas

         Greg Zipes, Esq.
         Office of the United States Trustee
         201 Varick Street
         New York, NY 10014




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    Barry D. Haberman, Esq.
    Law Office of Barry D. Haberman
    254 South Main Street, #404
    New City, NY 10956
    Attorney for Grandfield Realty Corp.




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B2570 (Form 2570 e Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                of Michael Lichtenstein Pg 13 of 38
                                      UNITED STATES BANKRUPTCY COURT
  Southern
  _________________________________________             New York
                                            District of _________________________________________
      96 Wythe Acquisition LLC
In re __________________________________________
                                    Debtor
                                                                                              21-22108 (RDD)
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To:   The Williamsburg Hotel BK LLC
        ________________________________________________________________________________________
                                                          (Name of person to whom the subpoena is directed)

     Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: %**"&55&(,*)"%(,*)6.*"$"&0)"&((1/2&07-0+"(1635"13)*3"&65,13-8-0+"5,-4"%6'21*0&#

  PLACE                                                                                                      DATE AND TIME
 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036                        August 16, 2021
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached e Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        August 2, 2021
  Date: _____________
                                    CLERK OF COURT

                                                                                    OR
                                    ________________________                                     /s/ P. Bradley O'Neill
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           ,QQLOKBVWP PFDK>QROB

  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
   Benefit Street Partners Realty Operating Partnership, L.P. , who issues or requests this subpoena, are:

  P. Bradley O'Neill, 1177 Avenue of the Americas, New York, NY 10036, boneill@kramerlevin.com, 212.715.7583
                                                         Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                 SCHEDULE A

         Benefit Street Partners Realty Operating Partnership, L.P.1, by and through its undersigned

counsel, hereby submits this Schedule A to the subpoena directed to The Williamsburg Hotel BK

LLC, dated August 2, 2021 (“Subpoena”):

                                                DEFINITIONS

         The uniform definitions referenced in Rule 26.3 of the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York (“Local Rules”), as

incorporated by Rule 7026-1 of the Local Bankruptcy Rules for the Southern District of New York

(“Local Bankruptcy Rules”), apply to this Subpoena. The following additional definitions apply

and shall be construed in the broadest sense permitted by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, the Local Rules, and the Local Bankruptcy Rules.

         1.       “Debtor” means 96 Wythe Acquisition LLC, including its predecessors or

successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors,

attorneys, or other parties purporting to act on its behalf.

         2.       “Debtor Account” means any bank account held by or for the benefit of the Debtor.

For the avoidance of doubt: (a) a bank account held by the Debtor for the benefit of the Hotel

Manager is both a Debtor Account and a Hotel Manager Account; and (b) a bank account in which

Hotel revenues were collected or out of which Hotel expenses were paid is a Debtor Account.

         3.       “EIDL” refers to the SBA’s Economic Injury Disaster Loan program.

         4.       “EIDL Loan” refers to the loan of approximately $150,000 received by the Hotel

Manager in July 2020 under the EIDL.


1
 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries
operates as Franklin Templeton.
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       5.      “Hotel” means The Williamsburg Hotel, located at 96 Wythe Avenue, Brooklyn,

New York 11249.

       6.      “Hotel Manager” means The Williamsburg Hotel BK LLC, including its

predecessors or successors, assignees, prior or current parents, partners, subsidiaries, affiliates or

controlled companies, and each of their prior or current officers, directors, employees, agents,

advisors, attorneys, or other parties purporting to act on its behalf.

       7.      “Hotel Manager Account” means any bank account held by or for the benefit of

the Hotel Manager. For the avoidance of doubt: (a) a bank account held by the Hotel Manager for

the benefit of the Debtor is both a Hotel Manager Account and a Debtor Account; and (b) a bank

account in which Hotel revenues were collected or out of which Hotel expenses were paid, by or

on behalf of the Hotel Manager, is a Hotel Manager Account.

       8.      “Live Oak Bank” means Live Oak Banking Company, including its predecessors

or successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors,

attorneys, or other parties purporting to act on its behalf.

       9.      “PPP” refers to the SBA’s Paycheck Protection Program.

       10.     “PPP Loan” refers to the loan of approximately $1,438,000 received by the Hotel

Manager in April 2020 under the PPP.

       11.     “SBA” means the United States Small Business Administration, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.




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       12.     “Treasury” means the United States Department of the Treasury, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

       13.     “You” or “Your” means the Hotel Manager.

                                         INSTRUCTIONS

       1.      You are requested to produce all responsive Documents in Your possession,

custody, or control, wherever located, including without limitation, those in the custody of You

and Your affiliates.

       2.      If any part of the following requests cannot be responded to in full, please respond

to the extent possible, specifying the reason(s) for your inability to respond to the remainder and

stating whatever information or knowledge you have relating to the portion to which You do not

respond.

       3.      If there are no Documents responsive to any particular request, please state so in

writing.

       4.      Where any copy of any Document whose production is sought herein, whether a

draft or final version, is not identical to any copy thereof, by reason of alterations, notes, comments,

initials, underscoring, indication of routing, or other material contained thereon or attached thereto,

all such non-identical copies are to be produced separately.

       5.      If any Document requested was previously in Your possession, custody, or control

and has been lost or destroyed or otherwise disposed of, You are requested to submit in lieu of any

such Document a written statement (i) describing in detail the nature of the Document and its

contents, (ii) identifying the person(s) who prepared or authored the Document and, if applicable,

the person(s) to whom the Document was sent, (iii) specifying the date on which the Document




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was prepared or transmitted, and (iv) specifying the date on which the Document was lost or

destroyed, and if destroyed, the conditions of and reasons for such destruction and the person(s)

requesting and performing the destruction.

       6.      All Documents shall be produced in TIFF format with OCR images. All Documents

shall be produced with metadata, including but not limited to the date created/sent, author,

recipients, cc-copies, and bcc-blind copies. Benefit Street reserves the right to request that

Documents be produced in their native format.

       7.      A request for any Document shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to such Document, in addition

to the Document in its full and unexpurgated form.

       8.      Documents should be produced in the manner they are kept in the ordinary course

of business. Documents attached to each other should not be separated.

       9.      If any Document is withheld or not produced under a claim of privilege, immunity,

or otherwise, identify in writing the basis upon which the asserted privilege, immunity, or other

reason for non-disclosure is claimed, in accordance with terms and conditions to be agreed upon

by the parties or ordered by the Bankruptcy Court.

       10.     If only a part of a Document is protected by any privilege or immunity, the

Document shall be produced with only the privileged matter redacted.

       11.     The following document requests are to be deemed continuing in nature. In the

event You become aware of or acquire additional information relating or referring to any of the

following document requests, such additional information is to be promptly produced.

       12.     Unless otherwise indicated, the relevant time period for each request is January

2020 through the date of production.




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                             DOCUMENTS TO BE PRODUCED

        1.     All Documents concerning the PPP Loan or the EIDL Loan.

        2.     All Documents concerning the Hotel Manager’s applications for or receipt of the

PPP Loan and the EIDL Loan, including all documents submitted to Live Oak Bank or the SBA

in connection with such applications.

        3.     All Documents concerning the repayment or forgiveness of the PPP Loan or the

EIDL Loan, including all documents submitted to Live Oak Bank or the SBA in connection with

such repayment or forgiveness.

        4.     Documents sufficient to show the use of proceeds from the PPP Loan and the EIDL

Loan.

        5.     Documents sufficient to show the Hotel Manager’s officers, members, equity

holders, and employees, including their positions, responsibilities and compensation.

        6.     Documents sufficient to show the Hotel Manager’s operating expenses, including

payroll, mortgage/lease, and utilities expenses.

        7.     Documents sufficient to show the nature and extent of the services the Hotel

Manager provided to parties other than the Hotel and the Debtor.

        8.     Documents sufficient to identify all Hotel Manager Accounts.

        9.     All statements for each account into which the proceeds of the PPP Loan or the

EIDL Loan were transferred or deposited.




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                      of Michael Lichtenstein
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
In re:                                                         :
                                                               : Chapter 11
96 WYTHE ACQUISITION LLC,                                      :
                                                               : Case No. 21-22108 (RDD)
                                    Debtor.                    :
                                                               :
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           ORDER PURSUANT TO BANKRUPTCY RULE 2004 AND 9016
    AUTHORIZING DISCOVERY OF THE HOTEL MANAGER AND LIVE OAK BANK

        Upon the motion, dated July 28, 2021 (“Motion”), of Benefit Street Partners Realty

Operating Partnership, L.P.1 (“Benefit Street”), for an order pursuant to the Federal Rules of

Bankruptcy Procedure 2004 and 9016 directing document production by and an examination of

the Hotel Manager and document production by Live Oak Bank related to the PPP and EIDL

Loans; and the Court having jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157(a)-(b) and

1334(b); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and the

Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and no additional notice being

required except as provided herein; and, after due deliberation the Motion having established good

and sufficient cause for the relief granted herein; now, therefore,

IT IS HEREBY ORDERED THAT:

        1.       Benefit Street is authorized pursuant to Fed. R. Bankr. P. 2004 to conduct

examinations of and compel document production by the Hotel Manager and Live Oak Bank

(“Rule 2004 Parties”), relating to Benefit Street’s investigation of the PPP and EIDL Loans,




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 Benefit Street is a wholly owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.



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                      of Michael Lichtenstein
                                     Pg 2 of 3 Pg 22 of 38



including the Rule 2004 Topics,2 in each case with document production to be limited to a period

reasonably related to the PPP and EIDL Loans;

           2.        Benefit Street is authorized, pursuant to Fed. R. Bankr. P. 2004(c) and 9016, to

serve (a) document and deposition subpoenas to the Hotel Manager and (b) document subpoenas

to Live Oak Bank (each, a “Rule 2004 Examination Request”), in the forms annexed hereto as

Exhibits 1, 2, and 3;

           3.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for documents, the corresponding Rule 2004 Parties shall produce the documents

(including electronically stored information) in their possession, custody or control referenced in

such Rule 2004 Examination Request, to be delivered to the offices of Benefit Street’s counsel,

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036;

           4.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for oral examination under oath, the Hotel Manager shall designate and produce a

company representative for oral examination under oath by counsel for Benefit Street on such date

and time, and means, and at such location (including over remote means such as Zoom) as may be

designated in writing by counsel to Benefit Street;

           5.        Benefit Street’s rights are reserved to request additional examinations or documents

under Bankruptcy Rule 2004 based on any information that may be revealed as a result of the

discovery obtained under this Order;

           6.        The production and examination required are subject to any applicable privilege;

provided, that if production of a document required to be produced is withheld under an asserted




2
    Capitalized terms stated herein shall have the definitions set forth in the Motion, unless otherwise indicated.



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                                     Pg 3 of 3 Pg 23 of 38



privilege, the party asserting privilege with respect to such document shall provide a proper

privilege log to the Benefit Street’s counsel at the time of document production hereunder; and

       7.      This Court retains jurisdiction over all matters arising from or related to

implementing this Order.

Dated: White Plains, New York
       July 30, 2021


                                             /s/Robert D. Drain
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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                            EXHIBIT “2”
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                           of Michael Lichtenstein Pg 25 of 38



KRAMER LEVIN NAFTALIS & FRANKEL LLP
Adam C. Rogoff
P. Bradley O’Neill
Reyhan Watson
1177 Avenue of the Americas
New York, New York 10036
Telephone: (212) 715-9100
Facsimile: (212) 715-8000

Attorneys for Benefit Street Partners
Realty Operating Partnership, L.P.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
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                NOTICE OF SUBPOENA FOR RULE 2004 EXAMINATION

        PLEASE TAKE NOTICE that, pursuant to Rules 2004 and 9016 of the Federal Rules of

Bankruptcy Procedure and in connection with the attached Order Pursuant to Bankruptcy Rule

2004 and 9016 Authorizing Discovery of the Hotel Manager and Live Oak Bank [ECF No. 80],

Benefit Street Partners Realty Operating Partnership, L.P. (“Benefit Street”), by and through its

undersigned counsel, will serve the attached subpoena for Rule 2004 examination on The

Williamsburg Hotel BK LLC. Benefit Street will take the deposition upon oral examination of

The Williamsburg Hotel BK LLC commencing at 10:00 a.m. on August 24, 2021 via Zoom

video conference hosted by Veritext.
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Dated:    New York, New York
          August 9, 2021
                                             KRAMER LEVIN NAFTALIS &FRANKEL LLP

                                             /s/ P. Bradley O’Neill
                                             Adam C. Rogoff
                                             P. Bradley O’Neill
                                             Reyhan Watson
                                             Kramer Levin Naftalis & Frankel LLP
                                             1177 Avenue of the Americas
                                             New York, New York 10036
                                             Telephone: (212) 715-9100
                                             Facsimile: (212) 715-8000
                                             Email: arogoff@kramerlevin.com
                                                     boneill@kramerlevin.com
                                                     rwatson@kramerlevin.com

                                             Attorneys for Benefit Street Partners Realty
                                             Operating Partnership, L.P.


To:      Jonathan S. Pasternak, Esq.
         Robert L. Rattet, Esq.
         Davidoff Hutcher & Citron LLP
         120 Bloomingdale Road
         White Plains, New York 10601
         Attorneys for The Williamsburg Hotel BK LLC

         Mark Frankel, Esq.
         Backenroth Frankel & Krinsky, LLP
         800 Third Avenue
         New York, New York 10022
         Attorneys for the Debtor

         Jason A. Nagi, Esq.
         Offit Kurman
         590 Madison Avenue, 6th floor
         New York, NY 10022
         Attorneys for the Debtor

         Douglas A. Kellner, Esq.
         Stephanie Lim, Esq.
         Kellner Herlihy Getty & Friedman, LLP
         470 Park Avenue South, 7th Floor
         New York, NY 10016-6819
         Attorneys for Constantino Sagonas

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    Greg Zipes, Esq.
    Office of the United States Trustee
    201 Varick Street
    New York, NY 10014

    Barry D. Haberman, Esq.
    Law Office of Barry D. Haberman
    254 South Main Street, #404
    New City, NY 10956
    Attorney for Grandfield Realty Corp.




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B2540 (Form 2540 – Subpoena for Rule 2004 Examination) (12/15)
                                             of Michael Lichtenstein Pg 28 of 38
                                   UNITED STATES BANKRUPTCY COURT
               Southern
 _______________________________________                New York
                                         District of ___________________________________________

In re __________________________________________
      96 Wythe Acquisition, LLC                                            Case No. _____________________
                                                                                     21-22108 (RDD)
                                  Debtor
                                                                           Chapter ______________
                                                                                   11



                                           SUBPOENA FOR RULE 2004 EXAMINATION

(3"   (/- )0110+25,74. %36-1 #&****************************************************************
      ************************   ''$
                                                (Name of person to whom the subpoena is directed)


   Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an examination
under Rule 2004, Federal Rules of Bankruptcy Procedure. A copy of the court order authorizing the examination is attached"
PLACE                                                                                          DATE AND TIME

Zoom video conference hosted by Veritext                                                      August 24, 2021 at 10:00 A.M.
601 Lexington Ave., Floor 55, New York, NY 10022                                              (EDT)

%))"&,,&'*)("%'*)(-+)"$ $-' $&&.,/$-4+-) &.302 .0'(0 $32*.0+5+-) 2*+1 #3%/.(-$#
                                                  Video, audio, and stenographic means by court reporter over Zoom video conference.
 The examination will be recorded by this method: _________________))))))))))))))))))))))____________
      Production: You, or your representatives, must also bring with you to the examination the following documents,
 electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:




        The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
doing so.

Date: "3)312 !, 2021
                                 CLERK OF COURT

                                                                          OR
                                 ________________________                       ________________________
                                                                                /s/ P. Bradley O'Neill
                                 Signature of Clerk or Deputy Clerk                   Attorney’s signature


The name, address, email address, and telephone number of the attorney representing (name of party)
____________________________
Benefit Street Realty Operating Partnership, L. P. , who issues or requests this subpoena, are:

 P. Bradley O'Neill, 1177 Avenue of the Americas, New York, NY 10036, boneill@kramerlevin.com, 212.715.7583


                                 Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                               SCHEDULE A

        Benefit Street Partners Realty Operating Partnership, L.P.1, by and through its undersigned

counsel, hereby submits this Schedule A to the subpoena directed to The Williamsburg Hotel BK

LLC, dated August 9, 2021 (“Subpoena”):

                                               DEFINITIONS

        The uniform definitions referenced in Rule 26.3 of the Local Rules of the United States

District Courts for the Southern and Eastern Districts of New York (“Local Rules”), as

incorporated by Rule 7026-1 of the Local Bankruptcy Rules for the Southern District of New York

(“Local Bankruptcy Rules”), apply to this Subpoena. The following additional definitions apply

and shall be construed in the broadest sense permitted by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, the Local Rules, and the Local Bankruptcy Rules.

        1.       “Debtor” means 96 Wythe Acquisition LLC, including its predecessors or

successors, assignees, prior or current parents, partners, subsidiaries, affiliates or controlled

companies, and each of their prior or current officers, directors, employees, agents, advisors, and

attorneys.

        2.       “Debtor Account” means any bank account held by or for the benefit of the Debtor.

For the avoidance of doubt: (a) a bank account held by the Debtor for the benefit of the Hotel

Manager is both a Debtor Account and a Hotel Manager Account; and (b) a bank account in which

Hotel revenues were collected or out of which Hotel expenses were paid is a Debtor Account.

        3.       “Government Assistance” means any money, loans, investment capital, disaster

assistance, surety bonds, grants, COVID-19 relief, or other assistance provided by the SBA or

Treasury, including but not limited to PPP loans or EIDL loans.


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operates as Franklin Templeton.

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         4.    “EIDL” refers to the SBA’s Economic Injury Disaster Loan program.

         5.    “Hotel” means The Williamsburg Hotel, 96 Wythe Avenue, Brooklyn, New York

11249.

         6.    “Hotel Manager” means The Williamsburg Hotel BK LLC.

         7.    “Hotel Manager Account” means any bank account held by or for the benefit of

the Hotel Manager. For the avoidance of doubt: (a) a bank account held by the Hotel Manager for

the benefit of the Debtor is both a Hotel Manager Account and a Debtor Account; and (b) a bank

account in which Hotel revenues were collected or out of which Hotel expenses were paid, by or

on behalf of the Hotel Manager, is a Hotel Manager Account.

         8.    “PPP” refers to the SBA’s Paycheck Protection Program.

         9.    “Receiver” means Constantino Sagonas, who was appointed as temporary receiver

of the Debtor by the Receiver Order (as defined below).

         10.   “Receiver Account” means any bank account held by or for the benefit of the

Receiver in connection with the Receivership.

         11.   “Receiver Order” means the order appointing the Receiver, entered by the

Supreme Court of the State of New York, County of New York, dated February 21, 2020, in the

mortgage foreclosure action captioned Benefit Street Partners Operating Partnership, L.P. v.

96 Wythe Acquisition LLC, et al. (Index No. 653396/2019), a copy of which was filed in the above-

captioned bankruptcy as ECF No. 29-4.

         12.   “Receivership” means any of the Receiver’s actions, duties, or obligations relating

to or arising from in any way his appointment under the Receiver Order.




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           13.   “SBA” means the United States Small Business Administration, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

           14.   “Treasury” means the United States Department of the Treasury, including its

predecessors or successors, assignees, and each of their prior or current officers, directors,

employees, agents, advisors, attorneys, or other parties purporting to act on its behalf.

                                         INSTRUCTIONS

           1.    Pursuant to Federal Rule of Civil Procedure 30(b)(6), the Hotel Manager shall

designate one or more knowledgeable persons to appear and testify on the Hotel Manager’s

behalf concerning the Matters for Examination.

           2.    The individual(s) so designated shall testify as to matters known or reasonably

available to the Hotel Manager.

           3.    The Hotel Manager shall set forth at a reasonable time prior to the deposition(s),

for each individual it designates, the Matters for Examination on which the individual will

testify.

           4.    The Hotel Manager has a duty to confer with the counsel for the party serving

this Subpoena.

           5.    The following rules of construction shall apply to this Subpoena:

                 (a)     The terms “any” and “all” mean “any and all” or “each and every” where

                         the effect of such construction is to broaden the scope of the Matters for

                         Examination.

                 (b)     The connectives “and” and “or” shall be construed either disjunctively or

                         conjunctively as necessary to bring within the scope of the Matters for



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                       Examination all matters that might otherwise be construed to be outside the

                       scope.

               (c)     The term “including” means including, but not limited to, and is intended

                       to provide examples of information that is subject to examination under the

                       Matters for Examination. Such examples are not intended to be exhaustive

                       of the information sought and shall not, in any way, be read to limit the

                       scope of the Matters of Examination.

               (d)     The singular includes the plural and vice versa.

               (e)     The present tense shall be construed to include the past tense, and the past

                       tense shall be construed to include the present tense as necessary to bring

                       within the scope of these Matters for Examination any information that

                       might otherwise be construed to be outside the scope.

                                MATTERS FOR EXAMINATION

       1.      The Hotel Manager’s officers, members, and employees, including positions,

responsibilities and salaries/compensation.

       2.      The Hotel Manager’s payroll, mortgage/lease, and utilities expenses.

       3.      The Hotel Manager’s operations, including the nature and extent of the Hotel

Manager’s engagement with or services provided to (a) the Hotel, (b) the Debtor, or (c) other hotels

or entities, including the names of all such other hotels or entities.

       4.      The Hotel Manager’s interactions and relationship with the Debtor or the Receiver,

including any communications, interactions, or transfers of money between the Hotel Manager

and the Debtor or the Receiver.



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       5.     The nature, reason, basis, complete supporting documentation for, and purpose

of the Hotel Manager’s application for or receipt of Government Assistance, including with

respect to any PPP or EIDL loans.

       6.     The Hotel Manager’s use of proceeds from any Government Assistance loan,

including from any PPP or EIDL loan.

       7.     Communications between the Hotel Manager and the Debtor or the Receiver about

Government Assistance, and the nature of said communications.

       8.     The Hotel Manager’s repayment or complete application for forgiveness of any

Government Assistance.

       9.     The treatment, transfer, and use of the $1,438,000 deposit on April 21, 2020 from

Live Oak Bank into the Hotel Manager’s Bank of America account ending in 2855, including

the backup for and approval of the April 23, 2020 transfer of $1,438,000 out of the 2855

account.

       10.    The treatment, transfer, and use of the $149,900 deposit on July 29, 2020 into

the Hotel Manager’s Bank of America account ending in 4831, including the backup for and

approval of the July 29, 2020 transfer of $149,000 out of the 4831 account.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                         :
                                                               : Chapter 11
96 WYTHE ACQUISITION LLC,                                      :
                                                               : Case No. 21-22108 (RDD)
                                    Debtor.                    :
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Motion being a core proceeding pursuant to 28 U.S.C. § 157(b); and no additional notice being

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and sufficient cause for the relief granted herein; now, therefore,

IT IS HEREBY ORDERED THAT:

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including the Rule 2004 Topics,2 in each case with document production to be limited to a period

reasonably related to the PPP and EIDL Loans;

           2.        Benefit Street is authorized, pursuant to Fed. R. Bankr. P. 2004(c) and 9016, to

serve (a) document and deposition subpoenas to the Hotel Manager and (b) document subpoenas

to Live Oak Bank (each, a “Rule 2004 Examination Request”), in the forms annexed hereto as

Exhibits 1, 2, and 3;

           3.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for documents, the corresponding Rule 2004 Parties shall produce the documents

(including electronically stored information) in their possession, custody or control referenced in

such Rule 2004 Examination Request, to be delivered to the offices of Benefit Street’s counsel,

Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036;

           4.        Not later than fourteen (14) days after the service of a Rule 2004 Examination

Request for oral examination under oath, the Hotel Manager shall designate and produce a

company representative for oral examination under oath by counsel for Benefit Street on such date

and time, and means, and at such location (including over remote means such as Zoom) as may be

designated in writing by counsel to Benefit Street;

           5.        Benefit Street’s rights are reserved to request additional examinations or documents

under Bankruptcy Rule 2004 based on any information that may be revealed as a result of the

discovery obtained under this Order;

           6.        The production and examination required are subject to any applicable privilege;

provided, that if production of a document required to be produced is withheld under an asserted




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    Capitalized terms stated herein shall have the definitions set forth in the Motion, unless otherwise indicated.



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privilege, the party asserting privilege with respect to such document shall provide a proper

privilege log to the Benefit Street’s counsel at the time of document production hereunder; and

       7.      This Court retains jurisdiction over all matters arising from or related to

implementing this Order.

Dated: White Plains, New York
       July 30, 2021


                                             /s/Robert D. Drain
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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